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 4
   Attorney for Defendant,
 5 THURMAN MAXWELL
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,         )                 No. CR S 07 0248-20 WBS
10                                     )
               Plaintiff,              )                 STIPULATION AND [PROPOSED]
11                                     )                 ORDER CONTINUING
         v.                            )                 SENTENCING DATE
12                                     )
   THURMAN MAXWELL,                    )
13                                     )
               Defendant.              )
14 ____________________________________)
15          It is hereby stipulated by and between Tim Warriner, counsel for defendant Thurman
16 Maxwell, and Jason Hitt, Assistant United States Attorney, counsel for the government, that the
17 sentencing hearing now set for July 30, 2012 be vacated, and that judgment and sentencing be set
18 for August 27, 2012, at 9:30 a.m. The continuance is requested due to defense counsel’s
19 involvement in a murder trial that will last through the first week of August, and to afford both
20 counsel additional time to address matters pertaining to imposition of judgment and sentence.
21
     Dated: July 26, 2012                 /s/ Timothy E. Warriner, Attorney for Maxwell
22
     Dated: July 26, 2012                 /s/ Jason Hitt, Assistant United States Attorney for
23                                        The Government
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            Case 2:07-cr-00248-WBS Document 1142 Filed 07/30/12 Page 2 of 2


 1
 2                                              ORDER
 3         GOOD CAUSE APPEARING, and based on the foregoing stipulation of counsel, the
 4 July 30, 2012 sentencing date is vacated, and the matter is set for judgment and sentence to occur
 5 on August 27 , 2012 at 9:30 a.m.
 6 DATED: July 30, 2012
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